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 NOT FOR PUBLICATION

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


 NESTOR SAROZA, on behalf ofhimselfand                            Civil Action No.: 16-6259 (JLL)
 all others similarly sitttated,
                                                                                OPINION
                       Plaintiff,

 v.

 LTD FINANCIAL SERVICES, L.P.,

                       Defendant.


LINARES, Chief District Judge.

         This matter comes before the Court by way of Plaintiff Nestor Saroza’s Motion for Class

Certification. (ECF No. 33). Defendant LTD Financial Services, L.P. has submitted Opposition

(ECF No. 36), to which Plaintiff has replied. (ECF No. 39). The Court decides this matter without

oral argument pursuant to Rule 78 of the Federal Rules of Civil Procedure. For the reasons set

forth below, the Court grants Plaintiffs Motion for Class Certification.



                                           I.       BACKGROUND’

        The Court presumes the parties are familiar with the factual background and the allegations

asserted in Plaintiffs Complaint (ECF No. 1) based on the parties’ own involvement in this case.

Accordingly, the Court will set forth the relevant factual and procedural background.




  This background is derived from Plaintiff’s Complaint (ECF No. I (“Comph”)) as well as the record submitted by
all parties in support of their respective position with regards to class certification. (ECF Nos. 33, 36, 39).
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        On October 1, 2016, Plaintiff brought this action on behalf of himself and others similarly

situated. (See general/v Compi.). In his Complaint, Plaintiff alleges Defendant violated the Fair

Debt Collection Practices Act (“FDCPA”). (Id.). In particular, Plaintiff, a consumer as defined

by the FDCPA, received a debt collection “communication” from Defendant, a debt collector as

defined by the FDCPA. (Compl. ¶J 14, 16, 2 1-23). The “communication,” which was in the form

of a letter, contained the following language: “IRS requires certain amounts that are discharged as

a result of the cancellation of debt to be reported on Fonn 1099-C.” (Cornpl.   ¶ 25).   According to

Plaintiff, this letter violated the FDCPA because it “provided confusing and incorrect tax

information.” (Compi. J 27-29, 32). As such, Plaintiff asserts that Defendant’s conduct “impeded

[his] ability to make a well-reasoned decision” as it pertained to the outstanding debt. (Cornpl.   ¶J
37-38). Accordingly, Plaintiff brought this one count putative class action asserting violations of

the FDCPA. (Cornpl.    ¶1 43-57).
        Defendant answered Plaintiffs Complaint and the parties proceeded through discovery.

(ECF Nos. 7, 11. 19, 21, 23, 32). Discovery revealed that Defendant maintained detailed records

of the various individuals who received a debt collection letter that contained the aforementioned

language. (ECF No. 33-3 at Ex. C). Specifically, during discovery, Defendant identified 1,151

individuals who received a communication with identical IRS-related language. (Id.).

       Accordingly, on July 13, 2018, with leave of Court, Plaintiff filed the subject Motion for

Class Certification, pursuant to Rule 23 of the Federal Rules of Civil Procedure. (See generally

ECF No. 33). Plaintiff argues that, based on the discovery in this case, he can meet all the Rule

23 requirements necessary to certify the Class. (See generally ECF No. 33-1 (“P1. Mov. Br.”)).

Additionally, Plaintiff proposes the following Class Definition:
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                All consumers located in New Jersey that were sent a letter or notice by
                [Defendant] LTD FINANCIAL SERVICES, L.P., during the Class Period,
                similar to Exhibit A to the Complaint that included the language, “IRS
                requires certain amounts that are discharged as a result of the cancellation
                of debt to be reported on a Forn 1099-C.”

(P1. Mov. Br. at 8). Plaintiffs proposed Class Period begins one year prior to the filing of this

matter, i.e., October 1, 2015. (Compl.      ¶ 11). Finally, Plaintiff asks this Court to appoint him as
Class Representative and his attorney as Class Counsel. (P1. Mov. Br. at 12-14).



                                      II.      LEGAL STANDARD

        “Class certification is proper only ‘if the trial court is satisfied, after a rigorous analysis,

that the prerequisites’ of Rule 23 are met.” In re Hydrogen Peroxide Antitrust Litig., 552 f.3d

305, 309 (3d Cir. 2008) (quoting Geiz Tel. Co. o/Sw. v. Fctlcon, 457 U.S. 147, 161 (1982)). To

meet the prerequisites of Rule 23, a plaintiff must establish both that the four requirements of Rule

23(a) have been met   —   those being nurnerosity, commonality, typicality, and adequacy   —   as well as

that the pleading requirements of Rule 23(b)(l), (2), or (3) have been met. fed. R. Civ. P. 23; see

also Hydrogen Peroxide, 552 f.3d at 309 n.6.

        In analyzing whether Rule 23’s requirements have been met, “the district court must make

whatever factual and legal inquiries are necessary and must consider all relevant evidence and

arguments presented by the parties.” Hydrogen Peroxide, 552 F.3d at 307. This is true even if

the class certification inquiry overlaps with the merits of the causes of action. Id. Additionally, if

there is any doubt as to whether the Rule 23 requirements have been met, certification should be

denied, regardless of the area of substantive law. Id. at 321 (discussing the 2003 Amendments t

Rule 23).


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        Rule 23(b)(3) requires a finding “that the questions of law or fact common to the class

members predominate over any questions affecting only individual members [(predominance)],

and that a class action is superior to other available methods for fairly and efficiently adjudicating

the controversy [(superiority)].” Fed. R. Civ. P. 23(b)(3); see also Hydrogen Peroxide, 552 F.3d

at 3 10. “Because the nature of the evidence that will suffice to resolve a question determines

whether the question is common or individual, a district court must formulate some prediction as

to how specific issues will play out [at trial] in order to determine whether common or individual

issues predominate in a given case.” Hydrogen Peroxide. 552 F.3d at 311 (citations and quotations

omitted). “If proof of the essential elements of the cause of action requires individual treatment,

then class certification is unsuitable.” Id. (quoting Newton v. Merrill Lynch, Pierce, fenner &

Smith, Inc., 259 F.3d 154, 172 (3d Cir. 2001)). Therefore, in addition to the four requirements

of Rule 23(a), P]aintiffs in this case bear the burden of establishing that common issues of fact and

law predominate and that a class action is superior.



                                         III.    ANALYSIS

       The Court finds that class certification is appropriate in this case, as the record shows that

all the requisite elements for class certification have been met here. However, before the Court

engages in the Rule 23 analysis, the Court first addresses Defendant’s argument that the Class

should not be certified because “Plaintiffs Class action claim cannot prevail on the merits.” (ECF

No. 36 (“Def Opp. Br.”) at 6-1 1). According to Defendant. “[t]he challenged language is not

false, deceptive, or misleading on its face.” (Id. at 6). Defendant goes on to note that the next

sentence after the challenged language reads as follows: “You will receive a copy of the Form


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 1099-C if one is required to be filed with the IRS.” (Id. at 7) (emphasis in original). Relying on

26 U.S.C.   § 6050P, Defendant notes that the IRS requires debts that are settled in excess of $600
to be reported. (Id.). Hence, Defendant asserts that the statement is truthful and, therefore, Class

Certification is inappropriate.

        The Court disagrees with Defendant’s argument.              Consistent with Supreme Court

precedent, this Court must perform a “rigorous analysis” to assure that Plaintiff has met the Rule

23 requirements for Class Certification. Cornetist Corp.   V.   Behrend, 569 U.S. 27, 33 (2013). The

Rule 23 analysis will often overlap with the actual merits of a plaintiff’s case. Id. The Third

Circuit has explained that the analysis of the merits is a “preliminary inquiry” rather than an

ultimate determination of same. Hydrogen Peroxide, 552 f.3d at 317.

       As Defendant is aware, this Court must “analyze the communication           giving   rise to the

FDCPA claim ‘from the perspective of the least sophisticated debtor.” Kayrnark v. Bctnk ofArn.,

NA., 783 f.3d 16$, 174 (3d Cir. 2015) (quoting Rosenati v. Unifttnd Corp., 539 F.3d 21$, 221 (3d

Cir. 200$)). “[W]hile the least sophisticated debtor standard protects naive consumers, ‘it also

prevents liability for bizarre or idiosyncratic interpretations of collection notices by preserving a

quotient of reasonableness and presuming a basic level of understanding and willingness to read

with care.” Brow,? v. c’ard Sen. Ctr., 464 f.3d 450, 454 (3d Cir. 2006) (quoting Wilson v.

Qitadrarned Corp., 225 F.3d 350, 354 (3d Cir. 2000)). Here, a reasonable finder of fact could find

that Defendant’s language would be confusing to the least sophisticated debtor. This is because

nowhere within Defendant’s letter is there mention of the $600 threshold that implicates reporting

to the IRS. Thus, the least sophisticated debtor may be confused by the language and when he or

she would be required to file a Form 1099-C with his or her annual tax return. Hence, Plaintiffs


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allegations, as well as discovery in this case, support a plausible FDCPA violation claim.

Accordingly, Defendant’s “inability to prevail on the merits” argument is flawed.

        The Court also notes that the bulk of Defendant’s remaining arguments in opposition to

Class Certification revolves around a theory that the 1,151 identified accounts are “individuals”

and not “consumers.” (See general/v Def. Opp. Br. at 4-28). However, this argument is also does

not prevail. Discovery indicates in this case that is likely that all 1 ,1 51 accounts identified are all

consumer accounts. For example, Plaintiffs sixth interrogatory to Defendant asked Defendant to

                State the number of CONS (IA’IERS located in New Jersey that were sent a
                letter or notice by [Defendant], during the CLASS PERIOD, similar to [that
                which was sent to Plaintiff and attached as] Exhibit A to [Plaintiffs]
                Complaint that included the language: “IRS requires certain amounts that
                are discharged as a result of the cancellation of debt to be reported on Form
                1099-C.”

(ECF No. 33-3 at Ex. C) (emphasis added). In response, Defendant identified 1,151 “individuals.”

Plaintiffs sixth interrogatory specially asked Defendant to identify New Jersey “consumers,” as

defined by the FDCPA. Accordingly, Defendant’s response indicates that some, if not all, 1,151

individuals are consumers.

       Additionally, as Plaintiff correctly notes, nothing within the record indicates that Defendant

is in the business of collecting any non-consumer debts. (ECF No. 39 at 8). Indeed, nowhere

within Defendant’s responses to Plaintiffs interrogatories does Defendant explain that it collects

non-consumer debts.      (ECF No. 33-3 at Ex. C).          Furthermore, none of Defendant’s own

submissions tend to show that Defendant is engaged in non-consumer debt collection.                 (See

generally ECF No. 36). As a matter of fact, Defendant testified, in a previous Florida litigation

(see Baez v. LTD Financial Servs., L.P., 2016 U.S. Dist. LEXIS 74788 (M.D. Fla. June 8, 2016)),



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that is has the information and capability of identifying consumer versus non-consumer accounts.

(ECF No. 33-3 at Ex. B). Hence, the Court concludes that at least some, if not all, of 1,151 are

consumer accounts.            This conclusion is based on Defendant’s response to Plaintiffs sixth

interrogatory, its own representations in previous litigation, and the fact that it has not produced

any evidence to contradict same.



    A. Numerosity

           Rule 23(a)(1) provides that the proposed class must consist of members that are so

“numerous that joinder of all members is impracticable.”                      Fed. R. Civ. P. 23(a)(l).

Notwithstanding, “‘impracticability’ does not mean irnpossibility.” In re Lucent Techs., Inc. Sec.

Litig. (“LucentT’), 307 F. Supp. 2d 633, 640 (D.N.J. 2004). “To meet the numerosity requirement,

class representatives must demonstrate only that ‘common sense’ suggests that it would be difficult

or inconvenient to join all class members.” In re Prudential Ins. Co. of Am. Sales Prctctices

Litig., (“Prudential T’), 962 F. Supp. 450, 510 (D.N.J. 1997) (citing Lerch v. Citizens first

Bancorp,        Inc., 144 F.R.D. 247, 250 (D.N.J. 1992)), aff’d, 148 F.3d 283 (3d Cir. 199$) (“Prudential

IT’),   cert.   denied, 525 U.S. 1114 (1999).

           When dealing with a large class, that numbers in the hundreds, joinder will be

impracticable. Id. (quoting I Herbert Newberg & Alba Conte, Newberg on Class Actions

(“Newberg”)         § 3.05, at 3-25) (stating that even a number less than one hundred will ctsctally satisfy
the numerosity requirement of Rule 23(a)(l)).               Additionally, the Third Circuit has held that

“generally if the named plaintiff demonstrates that the potential nttmber of plaintiff exceeds 40,

the first prong of Rule 23(a) has been met.” Stewart v.Abraham, 275 F.3d 220, 226-27 (3d Cir.


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2001) (emphasis added).         Here. joinder of all Class Members is impracticable because

approximately 1,200 potential Class Members have been identified. Accordingly, Rule 23(a)(1) is

satisfied.



    B. Commonality and Predominance

        It is customary in Rule 23(b)(3) class actions for courts          to   jointly apply the Rule

23(a)(2) commonality requirement and the Rule 23(b)(3) predominance tests. Pritdentiall, 962 F.

Supp. at 510   (citing   I Newberg    § 3.13, at 3-71). This approach has been approved by the Third
Circuit. See In re Warfarin Sodhtm Antitrust Litig., 391 F.3d 516, 528 (3d Cir. 2004) (“the Rule

23(b)(3) predominance requirement. which is far more demanding, incorporates the Rule

23(a) commonality requirement             Accordingly. we analyze the two factors together.”) (internal

citations omitted); Georgine   i’.   Amchem Prods., 83 F.3d 610, 626 (3d Cir. 1996).

        Another prerequisite to a class action is that “there are questions of law or fact common to

the class.” fed. R. Civ. P. 23(a)(2). “This requirement is satisfied ‘if the named plaintiffs share

at least one question of fact or law with the grievances of the prospective class.” PrttdentialL 962

F. Supp. at 510 (quoting Baby A1eal v. Cctsey, 43 F.3d 48, 56 (3d Cir. 1994) (citation omitted)).

Here, the commonality requirement is met because there are several common questions, including

the following:

                 a. Whether Defendant is a debt collector pursuant to the FDCPA;
                 b. Whether Defendant violated the FDCPA, 15 U.S.C. § 1692 etseq.; and
                 c. Whether Defendant’s letters sent to Plaintiff, and those similarly
                    situated, contained false, misleading, and/or deceptive language.




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       for a class that is certified under Rule 23(b)(3), which is what Plaintiff is seeking here, the

Court must find that these common questions predominate over individual issues. Prttdentiat I,

962 F. Supp. at 510-il.         “To evaluate predominance, the Court must determine whether the

efficiencies gained by class resolution of the common issues are outweighed by individual issues

presented for adjudication.” Id. at 511 (citing 1 Newberg     § 4.25, at 4-81 to 4-86). Courts have
readily held that even a few common issues can satisfy this requirement where their resolution will

significantly advance the litigation. Id. (gathering authority). for example, in cases where it is

alleged that the defendant made similar misrepresentations, non-disclosures, or engaged in a

common course of conduct, courts have found that said conduct satisfies the commonality and

predominance requirements. Id. (gathering authority). Predominance has been found to not be

met in cases that “required individualized proof of ‘highly case-specific factual isscies.” Elkijis v.

Equitable Life Ins.     Co.,     1998 U.S. Dist. LEXIS 1557, at *49 (M.D. Fla. Jan. 27,

1998) (quoting Jackson     v.    Motel 6 Multipurpose,      130   F.3d 999,     1004-05   (11th Cir.

1997) (involving whether Motel 6 had a practice or policy of racial discrimination)). Hence,

“predominance is satisfied when a legal claim is ‘capable of proof at trial through evidence that is

common to the class rather than individual to its members.” Martinez-Santiago v. Pub. Storcige,

312 F.R.D. 380, 389 (D.N.J. 2015).

        Here, the predominance requirement is also satisfied.          This is because there is no

individualized fact-sensitive inquiry necessary for each Class Member,        nor   will there be any

“highly case-specific factual issues.” Rather, as noted above, the inquiry in this matter will be

limited to whether the challenged language did in fact violate FDCPA and who received same,

consistent with the proposed Class Definition. As such, the Court finds that there are no individual


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inquiries necessary and the common issues in this matter outweigh the individual issues, which

are non-existent. Hence, Plaintiff satisfies the predominance reqctirement.



   C. Typicality

       Rule 23 reqtiires also that “the claims or defenses of the representative parties are typical

of the claims or defenses of the class.” fed. R. Civ. P. 23(a)(3). In essence, “the typicality

requirement is said to limit the class claims to those fairly encompassed by the named plaintiffs

claims.” Gen. Tel. Co. v. EEOC, 446 U.S. 318, 330 (1980). “Typicality lies where there is a strong

similarity of legal theories or where the claims of the class representatives and the class members

arise from the same alleged course of conduct by the defendant.” Prttdential I, 962 F. Supp. at

518 (citations omitted). Hence, even where there may be factual differences between the claims

of the class representatives and other class members, it does not rule out a finding of

typicality. Litcentl, 307 F. Supp. 2d at 640 (citing Pritdentictlll, 148 F.3d at 310).

       The Court concludes that the typicality requirement of Rule 23 is also met in this case.

This is because the legal theory that underlies Plaintiffs claims is typical of the claims asserted by

the Class Members. Specifically, Plaintiff asserts that Defendant violated the FDCPA when it sent

him a letter that contained the aforementioned challenged language because same was confusing

and/or misleading to the least sophisticated debtor.      This claim is identical to all the Class

Members’ claims.      Hence, the common question relating to, as well as the common claim

steinming from, said letters, which is typical to Plaintiff as well as the Class Members, is whether

or not Defendant violated the FDCPA when it sent a collection letter that contained the challenged

language. Indeed, there is an extremely similar, if not identical, legal theory underlying Plaintiffs


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claims and those of the Class Members. Thus, the Coui-t finds the typicality requirement of Rule

23 satisfied in this case.



    D. Adequacy of Representation

        As for the adequacy of representation factor, Rule 23(a)(4) requires that “the representative

parties [must] fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4).

 Courts look at two factors: “(1) the plaintiffs attorney must be qualified, experienced, and

 generally able to conduct the proposed litigation, and (2) the plaintiff must not have interests

 antagonistic to those of the class.” Prttdentiat I, 962 F. Supp. at 519. A party challenging the

 Class’ representation has the burden to prove that the representation is not adequate. Id.

         The aforementioned requirements have been met in this case. First, the Court notes that

 Class Counsel, Mr. Lawrence Hersh, Esq., is more than an adequate representative of the Class.

 This is clear based on Mr. Hersh’s Certification submitted in support of this Motion. (See ECF

No. 33-3). Therein, Class Counsel explains that he has been practicing law since 198$ and has

 worked for at least one well-known and prominent law firm. (Id. at ¶ 10). Class Counsel also lists

 a host of additional credentials, including the fact that he is a registered patent attorney. (Id.   ¶   12).

 Moreover, Class Counsel certifies that he is well versed in the field of FDCPA law, and has also

 been appointed as class counsel in two New Jersey FDCPA cases.                  (Id.   ¶J   14-18) (citing

Nepomuceno v. Midland Credit Mgrn ‘t, No. 14-5719 (D.N.J. June 13, 2016);         Shumakerv. Vengroff

 Williams, Inc., MID-L-5367-15 (N.J. Super. Ct. Law Div. 2015)). Finally, the named Plaintiff is

 an appropriate Class Representative, as he has no interest which is antagonistic to the rest of the

 Class Members and has expressed his willingness to represent them.


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       The Court rejects Defendant’s arguments that both Plaintiff and Class Counsel are

inadequate. (Def. Opp. Br. at 24-27). According to Defendant, Plaintiff is inadequate because

“his FDCPA claims are not common or typical of the other putative 1,151 individuals.” (Id. at

25). However, as explained above, the Court already rejected this argument and has found that

Plaintiffs claims are in fact   common   and typical to those of the 1,151 individuals identified by

Defendant.   The Court also i-ejects Defendant’s argument that “Plaintiff is not an adequate class

representative because he will ‘lack the same financial stake as the other members of the class’

and ‘have different incentives in terms of [sic] much time, energy, and money he is willing to

spend.” (Id.). Defendant makes this assertion without any citation to the record to support its

position. Indeed, Defendant fails to explain how Plaintiff will have a different financial stake or

why he would be incentivized to act in a manner that would be contrary to the benefit of the other

Class Members. The Court sees nothing in the record to support the assertion that Plaintiff has

any interest that is antagonistic to the other Class Members. Accordingly, the Court finds that

Plaintiff is in fact an adequate Class Representative.

       Finally, the Court is not persuaded by Defendant’s arguments in opposition to appointing

Mr. Hersh as Class Counsel. According to Defendant, Class Counsel has “failed to meet various

case management deadlines.” (Id. at 25-26). Defendant goes on to list a few instances where Mr.

Hersh allegedly violated case management orders. (Id. at 26). However, none of these instances

rebut the fact Mr. Hersh is well versed in class actions and/or FDCPA matters. As noted above,

Mr. Hersh has listed a significant amount of experience such that he meets the requirements to be

appointed as Class Counsel. Defendant cites to no, nor has this Court found any, case law that

supports Defendant’s position that a failure to comply with a case management order renders an


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attorney incapable of serving as an adeqctate Class Counsel. Accordingly, the Court finds Mr.

Hersh “qualified, experienced, and generally able to conduct the proposed litigation,” and,

therefore, appoints him as Class Counsel.



    F. Superiority

        Having found all four requirements of Rule 23(a) satisfied, the Court turns its attention to

Rule 23(b)(3), which requires “that a class action [be] supetior to other available methods for the

fair and efficient adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3). The Rule provides

the Court with four non-exclusive factors to aid in its superiority determination:

                (I) the interest of individual members of the class in individually controlling
                the prosecution of the action; (2) the extent of litigation commenced
                elsewhere by class members; (3) the desirability of concentrating claims in
                a given forum; and (4) the management difficulties likely to be encountered
                in pursuing the class action.

Prudential 1, 962 F. Supp. at 522.

        Here, since the financial hanu to most of the Class Members is relatively small,

 very few individuals, if any, would have an interest or ability to pursue their own individual

 case. Along the same thought process, it is unlikely that the individual Class Members

 would have the resources to pursue successful litigation on their own, partly because the

 cost of litigating separate actions would be far more than the amount each individual Class

 Member would recover. Thus, the Court finds that a class action is a superior method of

 adjudicating the controversy.

                                         IV.     CONCLUSION




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        for the aforementioned reasons. Plaintiffs Motion for Class Certification is hereby

 granted. An appropriate Order, which includes the above espoused Class definition, accompanies

 this Opinion.




 DATED:               201$                                                        —




                                                    JOS/      LI ARE
                                                           Judge, United States District Court




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